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AO 93C (Rev. 8/18) Warrant by Telephone of Other Reliable Electronic Means (Page 2)


                                                                              Return
Case No.: 8:21-MJ-00313


Inventory made in the presence of :
                                                  sA
Inventory of the property taken and name of any person( s) seized:


                              )~e               ql Ye,G he.-d                   P.ec~ '(J I-I             !OI'          j)/'i?/}e/           (y.
     No Ie:              Tltt-           -7t?Ile.       h/~?k AfJ/)/e_                     "P      ~;?I\e_         1/ w/{~                    c/eq('
        Cct~!..I(          W"S           ) e ;'u)         F/'~M.           /fA.. /tr       /kl'l       '1', ''3     /)#I)P/l1          011   Iy
        01\   e_     f(t (_( ,'()f-       ;::v-     ;>rtPj)~r         {.r        ivt;5             \
                                                                                                ;rive/) .




                                                                           Certification


         I declare under penalty of perjury that this inventory is correct and was returned along with the original warrant to the
designated judge.



Date:          5 lIrA! JJJJ.(
                                                                                                       Executing officer's signature

                                                                                      A It d f'e w K/' v..e         Cf el' /   ) Pe c/e, I
                                                                                                          Printed name and title
                                                                                                                                                  Lhe~I:'
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 FD·597 (Rev. 4-13-20l5)                                                                                Page   \    of---,,-l_
                                     .UNITED STATES DEPARTMENT OF JUSTICE
                                                FEDERAL BUREAU OF INVESTIGATION
                                                       Receipt for Property

 Case 10:     \}\-?2~~CC/l
            on'"(date)     'S t\':)=\ i{'2.iJL_,\                       item (.8) listed below were:
                                                                       l2J  Collected/Seized
                                                                       o    Received From

                                                                       B    Returned To
                                                                             ReteasedTo
 (Name)      A/~ e,.               /..l(ct,   rj   .(" ;

 (Street Address)        2.'lR(g\ ~r                            tH 1\ 12--ogJ
 (City)     l.A~~                  N   \er'    S? ~        CA:- ec 2«(LrJ
 DescriptionofItem(s);"]\PC)                   ~~               "E?:avA~ &ka.~~                        Md -tn.)4
 ~M+~                          j   EMe.. vJQS~                           ~~                        hacld~          5iN




Printed NameffitJe:        pAt) Gte..              BA-(L. \ tS--   l
